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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SANDY RICKETTS                                :     CIVIL ACTION
                                              :
      v.                                      :
                                              :
BIEBER TIME TOURING, LLC, BIEBER              :     NO. 15-4726
TIME MERCHANDISE, LLC, JUSTIN                 :
BIEBER and PATRICIA MALLETTE                  :

                                           ***

SANDY RICKETTS                    :                 CIVIL ACTION
                                  :
       v.                         :
                                  :
CITY OF PHILADELPHIA, COMCAST     :                 NO. 15-5036
SPECTACOR, LP, COMCAST SPECTACOR, :
INC., GLOBAL SPECTRUM, LP, GLOBAL :
SPECTRUM, INC. and AEG LIVE       :
PRODUCTIONS, LLC                  :

                                       ORDER

      AND NOW, this 13th day of October, 2015, upon consideration of the Plaintiff’s

Motion to Consolidate Actions and Remand to Philadelphia Court of Common Pleas, and

with the consent of all parties, it is ORDERED that these actions are CONSOLIDATED and

REMANDED to the Court of Common Pleas of Philadelphia County.




                                                /s/Timothy J. Savage
                                              TIMOTHY J. SAVAGE, J.
